                           CASE 0:07-cv-01513-ADM-AJB Doc. 312 Filed 10/19/09 Page 1 of 1


                               IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MINNESOTA

Shqeirat, et al.,                                   )               COURT MINUTES - CIVIL
                                                    )                BEFORE: Arthur J. Boylan
                                     Plaintiff,     )                  U.S. Magistrate Judge
                                                    )
             v.                                     )   Case No:          07-1513 ADM/AJB
                                                    )   Date:             10/19/09
U.S. Airways Group, Inc., et al.,                   )   Court Reporter:
                                                    )   Time Commenced:   9:00 a.m.
                                     Defendant.     )   Time Concluded:   4:20 p.m.
                                                    )   Time in Court:    7 Hours & 20 Minutes
Hearing on: Settlement              Conference
APPEARANCES:
             Plaintiff: Omar T. Mohammedi, Frederick J. Goetz
             Defendant: Timothy R. Schupp, Gregory S. Bailey, Michael C. Lindberg, Chad A. Blumenfield

PROCEEDINGS:
      9 Evidence by 9 Plaintiff         9 Defendant       9 Other:
      9 Defendant placed under oath and excused to meet with the government to answer questions regarding
        financial status.
      9 Defendant failed to appear. Court grants government’s oral motion for an order for the defendant to
        show cause why (s)he should not be held in contempt.
      9 Initial pretrial conference held.
      9 Final pretrial conference held.
      9 Appearances made on the record. Procedures to be followed for the settlement conference stated.
        Conference continued off the record.
      / Settlement reached. Terms stated on the record.    (CONFIDENTIAL)
      9 No settlement reached.
      9 Status conference.
      9 Dates discussed for the progression of the case.




                                                                                                          s/KAT
                                                                                                 Judicial Assistant




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